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                          2231-CC00677 - JUSTYN MERCKLING V MIDWEST TECHNICAL INSTITUTE
                                                   INC (E-CASE)



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          07/19/2022           Corporation Served
                               Document ID - 22-SMCC-1460; Served To - MIDWEST TECHNICAL INSTITUTE INC; Server -
                               GREENE COUNTY SHERIFF; Served Date - 18-JUL-22; Served Time - 13:58:00; Service Type - Sheriff
                               Department; Reason Description - Served; Service Text - By leaving a copy with Elizabeth Skidmore
                               Campus Pres/dm

          07/05/2022           Summons Issued-Circuit
                               Document ID: 22-SMCC-1460, for MIDWEST TECHNICAL INSTITUTE INC. Summons saved and
                               attached in PDF format for Attorney to retrieve from secure case.net./ar
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                               Document ID - 22-SMCC-1423; Served To - MIDWEST TECHNICAL INSTITUTE INC; Server - ; Served
                               Date - 05-JUL-22; Served Time - 00:00:00; Service Type - Other; Reason Description - Other; Service
                               Text - Clerical Error

          07/01/2022           Summons Issued-Circuit
                               Document ID: 22-SMCC-1423, for MIDWEST TECHNICAL INSITUTE INC. Summons saved and
                               attached in PDF format for Attorney to retrieve from secure case.net./ar

          06/30/2022           Filing Info Sheet eFiling
                                   Filed By: GREGGORY DEAN GROVES
                               Pet Filed in Circuit Ct
                               Plts Petition; Exhibit A; Exhibit B; Exhibit C; Exhibit D./ar
                                  Filed By: GREGGORY DEAN GROVES
                                  On Behalf Of: JUSTYN MERCKLING
                               Judge Assigned
         Case.net Version 5.14.54                                       Return to Top of Page                                    Released 07/15/2022




                                                          NOTICE OF REMOVAL
                                                            ATTACHMENT A


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1 of 1                                                                                                                                    8/15/2022, 12:15 PM
                                                                                                    Electronically Filed - Greene - June 30, 2022 - 04:50 PM
                                                                              2231-CC00677

                IN THE CIRCUIT COURT OF GREENE COUNTY, MISSOURI

JUSTYN MERCKLING,                              )
                                               )
                       Plaintiff,              )
                                               )
V.                                             )            Case No.
                                               )
MIDWEST TECHNICAL INSTITUTE,                   )
INC.                                           )
Serve: Person having charge of the             )
       Business Office at                      )
       3600 S Glenstone Outer Road             )
       Springfield, MO 65804,                  )
                                               )
                       Defendant.              )

                                           PETITION
       COMES NOW Plaintiff, Justyn Merckling, by and through his undersigned attorney of

record, and for his Petition and causes of action against Defendant, Midwest Technical Institute,

Inc., states, alleges and avers to the Court as follows:

                                            I. PARTIES

       1.      Plaintiff is a resident of Greene County, Missouri.

       2.      Defendant is a foreign corporation organized under the laws of the State of

Illinois and authorized to do business and doing business in the State of Missouri, including

Greene County, Missouri.

       3.      At all times relevant herein, Defendant acted by and through its duly authorized

agents, servants and employees acting within the course and scope of their employment.

       4.      Defendant is an employer within the meaning of the Missouri Human Rights Act,

the Family and Medical Leave Act, and the Americans with Disabilities Act.




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                                                                                                    Electronically Filed - Greene - June 30, 2022 - 04:50 PM
       5.      At all times herein set forth, Defendant was an employer engaged in commerce

within the definition of the federal Fair Labor Standards Act of 1938 and the several supplements

thereof and amendments thereto.

       6.      At all times herein set forth, Plaintiff was at such times an employee within the

meaning of Section 3 of that Act.

                              II. VENUE AND JURISDICTION

       7.      Count I of Plaintiff’s cause of action is brought under the Family Medical Leave

Act of 1993 (“FMLA”), 29 U.S.C. Section 2601 et seq. against Defendant.

       8.      An FMLA claim “may be maintained against any employer in any Federal or

State court of competent jurisdiction...” (29 U.S.C. Section 2617(a)(2)).

       9.      Count II of Plaintiff’s cause of action is a State law claim under the Missouri

Commission on Human Rights Act (“MCHRA”), RSMo. Section 213.010 et seq. against

Defendant.

       10.     The Court has jurisdiction over Count II pursuant to RSMo. Section 213.111 and

28 U.S.C.A. § 1367(a).

       11.     Count III of Plaintiff’s cause of action is a claim under the Americans with

Disabilities Act (“ADA”), 42 U.S.C. Section 12101, et seq. against Defendant.

       12.     This Court has jurisdiction over Count III. Yellow Freight Sys., Inc. v. Donnelly,

494 U.S. 820, 821 (1990).

       13.     Count IV of Plaintiff’s cause of action is a claim under the Fair Labor Standards

Act (FLSA) including 29 U.S.C.A. §§ 201-219.

       14.     This Court has jurisdiction over FLSA claims.

       15.     The actions alleged herein occurred in Greene County, Missouri.




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                                                                                                      Electronically Filed - Greene - June 30, 2022 - 04:50 PM
        16.     Plaintiff timely filed a Charge of Discrimination and Amended Charge of

Discrimination with both the Missouri Commission on Human Rights and the U.S. Equal

Employment Opportunity Commission.

        17.     On April 26, 2022, the Missouri Commission on Human Rights issued a Notice of

Right to Sue Letter permitting Plaintiff to file a claim in State Circuit Court. A true and correct

copy of this letter to attached hereto as Exhibit “A” and incorporated herein by reference.

        18.     On May 3, 2022, the U.S. Equal Employment Opportunity Commission issued a

Notice of Right to Sue permitting Plaintiff to file his cause of action in a State Circuit Court. A

true and accurate copy of the EEOC’s Notice of Right to Sue is attached hereto as Exhibit “B”

and incorporated herein by reference.

        19.     The present case was filed less than ninety (90) days since the Notice of Right to

Sue letters were first issued.

               III. FACTUAL ALLEGATIONS APPLICABLE TO ALL COUNTS

        20.     Justyn Merckling began working for Defendant in November 2015 as an

Instructor.

        21.     In 2018, Plaintiff became a Placement Coordinator for Defendant, a position he

held until Defendant refused to return Plaintiff to that position after he was ready to come back

from leave under the FMLA.

        22.     In the spring and summer of 2021, and even before, Plaintiff suffered from a

serious and disabling medical condition, including Chron’s Disease.

        23.     As a result of his serious and disabling medical conditions, Plaintiff needed

accommodations, including the opportunity to perform his job without being in an enclosed area

with others and to further take leave under the FMLA.




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                                                                                                     Electronically Filed - Greene - June 30, 2022 - 04:50 PM
        24.    In the spring and summer of 2021, Plaintiff continued to seek treatment for his

serious and disabling medical condition.

        25.    In the spring and summer of 2021, Plaintiff sought leave under the FMLA for his

serious and disabling medical condition.

        26.    Shortly before he was to return from leave, Defendant, by and through its

employees, informed Plaintiff that he would not be returning to the job of Placement

Coordinator, which he had held since 2018.

        27.    Plaintiff requested to be returned to his position as Placement Coordinator, but

Defendant refused to return Plaintiff to his position as Placement Coordinator. Instead, he was

returned to the position of full-time instructor.

        28.    The position of full-time instructor required Plaintiff to work in an enclosed area

with others.

        29.    Knowing that he was not to work in enclosed areas with others, Plaintiff reached

out to his doctor, who informed Plaintiff that Plaintiff was not to be in an enclosed

area/classroom with other people due to his high risk and the medication he used for his disease.

        30.    Plaintiff provided the information he had received from his doctor to Defendant

thereby informing Defendant that Plaintiff could not work in the classroom due to his medical

condition.

        31.    After providing additional medical information to Defendant that Plaintiff could

not work in a classroom setting, Plaintiff asked the Defendant about his return to work as a

Placement Coordinator.

        32.    Despite repeated requests, about his status, Defendant refused to get back to

Plaintiff.




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                                                                                                      Electronically Filed - Greene - June 30, 2022 - 04:50 PM
        33.    While the Defendant refused to get back to Plaintiff, Plaintiff heard that he had in

fact been terminated.

        34.    After hearing that he had been terminated, Plaintiff again reached out to

Defendant to confirm whether he had been terminated, but Defendant did not get back with

Plaintiff.

        35.    On August 26, 2021, and after Defendant refused to provide Plaintiff anything

definitive about his status, Plaintiff filed his Charge of Discrimination. A copy of which is

attached hereto as Exhibit “C” and incorporated herein by reference. The August 26, 2021

Charge of Discrimination was amended and a copy of the Amended Charge of Discrimination is

attached hereto as Exhibit “D” and incorporated herein by reference.

        36.     Plaintiff was, in fact, terminated by Defendant.

                            COUNT I
(VIOLATION OF FAMILY MEDICAL LEAVE ACT OF 1993 29 U.S.C. §2601 ET SEQ.)

        37.    Plaintiff hereby incorporates by reference paragraphs 1 through 36 as though

more fully set forth herein.

        38.    During the entire year of 2021, Plaintiff was a qualified “eligible employee”

under the Family Medical Leave Act of 1993. 29 U.S.C. Section 2611(2).

        39.    Plaintiff exercised his rights under the Family Medical Leave Act.

        40.    When Plaintiff was preparing to return from leave to his position as a Placement

Coordinator, Defendant refused to return Plaintiff back to his position as a Placement

Coordinator.

        41.    Not only did Defendant refuse to return Plaintiff to his position of Placement

Coordinator that he was in immediately prior to taking leave, but Defendant terminated Plaintiff.




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                                                                                                       Electronically Filed - Greene - June 30, 2022 - 04:50 PM
        42.    The actions of Defendant in refusing to return Plaintiff to his position of

Placement Coordinator and in discharging Plaintiff, constituted a violation of the FMLA.

        43.    As a direct and proximate result of Defendant’s action, Plaintiff has suffered a

loss of wages, a loss of bonuses, a loss of benefits, and has suffered additional damages from the

loss of those benefits of employment.

        44.    As a direct and proximate result of Defendant’s action, Plaintiff is entitled to

interest on the amounts he has lost and is further entitled to liquidated/double damages as

Defendant’s conduct was not in good faith.

        45.    Pursuant to 29 U.S.C. Section 2617(a)(1)-(3), Plaintiff is entitled to his attorney’s

fees and costs of this action.

        WHEREFORE, Plaintiff prays for judgment against Defendant, for lost wages, lost

bonuses, lost benefits, additional damages from the loss of those benefits, interest on his losses

and double damages along with attorney fees and costs of this action and for such further relief

as the Court deems just and proper in the premises.

                              COUNT II
 VIOLATION OF THE MISSOURI COMMISSION ON HUMAN RIGHTS ACT RSMo.
                        Section 213.010 et seq.

        46.    Plaintiff hereby incorporates by reference paragraphs 1 through 45 as though

more fully set forth herein.

        47.    As a result of Plaintiff’s Chron’s disease and serious medical condition, Plaintiff

is an individual with a physical impairment that substantially limits one or more of his major life

activities.

        48.    Plaintiff’s impairment constituted a disability under the Missouri Human Rights

Act.




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                                                                                                     Electronically Filed - Greene - June 30, 2022 - 04:50 PM
       49.     Plaintiff, as an individual with a disability, is a member of a protected group

pursuant to the Missouri Human Rights Act.

       50.     Plaintiff, at all relevant times, met the necessary qualifications for his job and

employment by way of his training, education, skills, and experience.

       51.     Plaintiff is, and at the time of his termination was, able to perform the essential

job functions of a Placement Coordinator with accommodation.

       52.     Defendant engaged in unlawful discriminatory acts against Plaintiff by failing to

return him to His position as Placement Coordinator, by failing to provide him accommodation

upon his return from leave, and by failing to engage in an interactive process to determine if an

accommodation was reasonable under the circumstances.

       53.     In violation of R.S. Mo., Section 213.055, Defendant committed unlawful

discriminatory employment practices and took an adverse action against Plaintiff by terminating

Plaintiff from his employment.

       54.     Not only did Defendant improperly and unlawfully terminate Plaintiff from his

employment, but prior to the termination, Defendant had committed unlawful discriminatory

employment practices and took adverse actions against Plaintiff by refusing to give him any pay

raises due to his disability and by further refusing to return him to his position of Placement

Coordinator.

       55.     Plaintiff’s impairment and disability was a motivating factor in Defendant’s

decision not to provide Plaintiff an accommodation and also not to engage in an interactive

process to determine if an accommodation was reasonable or necessary or to try and

accommodate Plaintiff upon his return from leave.




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                                                                                                     Electronically Filed - Greene - June 30, 2022 - 04:50 PM
        56.    Plaintiff’s impairment and disability was a motivating factor in Defendant’s

decision not to return Plaintiff to the position of Placement Coordinator.

        57.    Plaintiff’s disability and impairment was a motivating factor in the Defendant’s

decision to stop providing Plaintiff any raises.

        58.    Plaintiff’s disability and impairment was a motivating factor in the Defendant’s

decision to terminate Plaintiff.

        59.    A causal nexus exists between the unlawful discriminatory employment practices

as set forth above and Plaintiff’s membership in the protected group of someone with an

impairment or disability.

        60.    The unlawful discriminatory employment practices by Defendant, as set forth

above, impacted a term, condition or privilege of Plaintiff’s employment with the Defendant.

        61.    Defendant knew or should have known of the unlawful discriminatory

employment practices against Plaintiff yet failed to take proper remedial action to prevent,

remove, or undo those practices and further failed to engage in an interactive process to

determine if an accommodation was reasonable or necessary or to otherwise accommodate

Plaintiff.

        62.    As a direct and proximate result of the discrimination as described herein and

unlawful practices, Plaintiff has suffered and will continue to suffer the following:

        (a) Lost income, including but not limited to bonuses, back pay, front pay, and lost
            benefits;
        (b) Lost career opportunities, including but not limited to opportunities for advancement,
            status, pay, and benefits;
        (c) Mental and emotional anguish defined as “garden variety” by Missouri law; and
        (d) Extreme embarrassment, humiliation, outrage, and loss of personal enjoyment.




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                                                                                                        Electronically Filed - Greene - June 30, 2022 - 04:50 PM
        63.    The actions of the Defendant were intentional, malicious, and committed with the

deliberate indifference to, and reckless disregard for the rights of Plaintiff entitling Plaintiff to

punitive damages against Defendant.

        64.    Pursuant to the Missouri Human Rights Act, RSMo. Section 213.111, Plaintiff is

entitled to and hereby requests an award of attorney fees and post-judgment interest at the

highest lawful rate on any award or verdict provided.

        WHEREFORE, Plaintiff prays for an award of damages against Defendant in an amount

determined to be fair and reasonable, for an award of punitive damages sufficient to deter this

Defendant and others similar situated from like actions in the future; for an award of attorney

fees; for his costs incurred herein, for post-judgment interest at the highest lawful rate on any

judgment rendered; and for such other and further relief as the Court deems just and proper in the

premises.

                                 COUNT III
              VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

        COMES NOW Plaintiff, and for Count III of his cause of action states as follows:

        65.    Plaintiff hereby incorporates by reference paragraphs 1 through 64, as though

more fully set forth herein.

        66.    As a result of Plaintiff’s Chron’s disease and serious medical condition, Plaintiff

is an individual with a physical impairment that substantially limits one or more of his major life

activities.

        67.    Plaintiff’s impairment constituted a disability under the American with

Disabilities Act, 42 U.S.C. Section 12102 et seq.

        68.    Plaintiff, as an individual with a disability, is a member of a protected group

pursuant to the American with Disabilities Act, 42 U.S.C. Section 12102 et seq.




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                                                                                                      Electronically Filed - Greene - June 30, 2022 - 04:50 PM
        69.     Plaintiff, at all relevant times, met the necessary qualifications for his job and

employment by way of his training, education, skills, and experience.

        70.     Plaintiff is, and at the time of his termination was, able to perform the essential

job functions of a Placement Coordinator with accommodation.

        71.     Defendant engaged in unlawful discriminatory acts against Plaintiff by failing to

return him to his position as Placement Coordinator, by failing to provide him accommodation

upon his return from leave, and by failing to engage in an interactive process to determine if an

accommodation was reasonable under the circumstances.

        72.     In violation of American with Disabilities Act, 42 U.S.C. Section 12102 et seq,

Defendant committed unlawful discriminatory employment practices and took an adverse action

against Plaintiff by terminating Plaintiff from his employment.

        73.     Not only did Defendant improperly and unlawfully terminate Plaintiff from his

employment, but prior to the termination, Defendant committed unlawful discriminatory

employment practices in violation of the American with Disabilities Act, 42 U.S.C. Section

12102 et seq and took adverse actions against Plaintiff by refusing to give him any pay raises due

to his disability.

        74.     A causal nexus exists between the unlawful discriminatory employment practices,

as set forth above, and Plaintiff’s membership in the protected group as someone with an

impairment or disability.

        75.     The unlawful discriminatory employment practices by Defendant, as set forth

above, impacted a term, condition, or privilege of Plaintiff’s employment with the Defendant.

        76.     Defendant knew or should have known of the unlawful discriminatory

employment practices against Plaintiff yet failed to take proper remedial action to prevent,




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                                                                                                        Electronically Filed - Greene - June 30, 2022 - 04:50 PM
remove, or undo those practices and further failed to engage in an interactive process to

determine if an accommodation was reasonable or necessary or to otherwise accommodate

Plaintiff.

        77.    As a direct and proximate result of the discrimination as described herein and

unlawful practices, Plaintiff has suffered and will continue to suffer the following:

        (a) Lost income, including but not limited to bonuses, back pay, front pay, and lost
            benefits;
        (b) Lost career opportunities, including but not limited to opportunities for advancement,
            status, pay, and benefits;
        (c) Mental and emotional anguish defined as “garden variety” by Missouri law; and
        (d) Extreme embarrassment, humiliation, outrage, and loss of personal enjoyment.

        78.    The actions of the Defendant were intentional, malicious, and committed with the

deliberate indifference to, and reckless disregard for the rights of Plaintiff entitling Plaintiff to

punitive damages against Defendant.

        79.    Pursuant to the American with Disabilities Act, 42 U.S.C. Section 12102 et seq.,

Plaintiff is entitled to and hereby requests an award of attorney fees and post-judgment interest at

the highest lawful rate on any award or verdict provided.

        WHEREFORE, Plaintiff prays for an award of damages against Defendant in an amount

determined to be fair and reasonable, for an award of punitive damages sufficient to deter this

Defendant and others similar situated from like actions in the future; for an award of attorney

fees; for his costs incurred herein, for post-judgment interest at the highest lawful rate on any

judgment rendered; and for such other and further relief as the Court deems just and proper in the

premises.

                                   COUNT IV
                  VIOLATION OF THE FAIR LABOR STANDARDS ACT

        COMES NOW Plaintiff, and for Count IV of his cause of action states as follows:




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                                                                                                    Electronically Filed - Greene - June 30, 2022 - 04:50 PM
       80.     Plaintiff hereby incorporates by reference paragraphs 1 through 79, as though

more fully set forth herein.

       81.     During the period covered by his employment, Plaintiff performed overtime work

for which no additional compensation was paid to him by Defendant, in violation of the

provisions of the FLSA.

       82.     During the time Plaintiff was employed with Defendant, Plaintiff was a non-

exempt employee and entitled to overtime compensation under the FLSA.

       83.     Although Plaintiff was treated by Defendant as an exempt employee under the

FLSA, Defendant, when convenient for Defendant, took actions against Plaintiff that caused

Plaintiff to be a non-exempt employee under the FLSA including requiring Plaintiff to make up

any time, no matter how small the increment, to ensure that Plaintiff put in the hours required

under his agreement with Defendant.

       84.     Defendant required Plaintiff to work at least forty-two (42) hours every week, but

never paid Plaintiff for more than forty hours per week.

       85.     Plaintiff, under the FLSA is due and owed from Defendant as compensation for

the overtime the sum as the evidence may show plus an additional equal amount as liquidated

damages, together with reasonable attorney fees.

       WHEREFORE, Plaintiff prays for an award of damages against Defendant in an amount

determined to be fair and reasonable, for an award of liquidated damages as authorized under the

FLSA; for an award of attorney fees; for his costs incurred herein, for post-judgment interest at

the highest lawful rate on any judgment rendered; and for such other and further relief as the

Court deems just and proper in the premises.




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                                                                     Electronically Filed - Greene - June 30, 2022 - 04:50 PM
                             Respectfully submitted,

                             LOWTHER JOHNSON
                             Attorneys at Law, LLC


                             By: /s/ Greggory D. Groves
                                Greggory D. Groves
                                Missouri Bar Number 35526
                                901 St. Louis Street, 20th Floor
                                Springfield, MO 65806
                                Telephone: (417) 866-7777
                                Facsimile: (417) 866-1752
                                E-mail: ggroves@lowtherjohnson.com
                                Attorney for Plaintiff




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                                                                                                                                                                                Electronically Filed - Greene - June 30, 2022 - 04:50 PM
                                      MISSOURI DEPARTMENT OF LABOR AND INDUSTRIAL RELATIONS
                                        MISSOURI COMMISSION ON HUMAN RIGHTS
                                                                                                                                         2231-CC00677

     MICHAEL L. PARSON                              ANNA S. HUI                                            DEREK M. HOLLAND                            ALISA WARREN, PH.D.
         GOVERNOR                               DEPARTMENT DIRECTOR                                        COMMISSION CHAIR                            EXECUTIVE DIRECTOR



 Justyn I. Merckling
 700 W. Christine Lane
 Republic, MO 65738
 merckling_justyn@yahoo.com
                                                                  NOTICE OF RIGHT TO SUE



 RE:        Justyn I. Merckling vs. MIDWEST TECHNICAL INSTITUTE, Inc.
            E-08/21-53231 28E-2021-00959
The Missouri Commission on Human Rights (MCHR) is terminating its proceedings and issuing this notice of your right
to sue under the Missouri Human Rights Act because you have requested a notice of your right to sue.

This letter indicates your right to bring a civil action within 90 days of the date of this notice against the respondent(s)
named in the complaint. Such an action may be brought in any circuit court in any county in which the unlawful
discriminatory practice is alleged to have occurred, but it must be brought no later than two years after the alleged cause
occurred or its reasonable discovery. Upon issuance of this notice, the MCHR is terminating all proceedings relating to
the complaint. No person may file or reinstate a complaint with the MCHR after the issuance of a notice of right to sue
relating to the same practice or act. You are hereby notified of your right to sue the Respondent(s) named in your
compliant in state circuit court. THIS MUST BE DONE WITHIN 90 DAYS OF THE DATE OF THIS NOTICE OR YOUR
RIGHT TO SUE IS LOST.

You are also notified that the Executive Director is hereby administratively closing this case and terminating all MCHR
proceedings relating to it. This notice of right to sue has no effect on the suit-filing period of any federal claims. This
notice of right to sue is being issued as required by Section 213.111.1, RSMo, because it has been over 180 days after
the filing of the complaint and MCHR has not completed its administrative processing.


Respectfully,




Alisa Warren, Ph.D.                                                                                           April 26, 2022
Executive Director                                                                                            Date

C:          additional contacts listed on next page




           JEFFERSON CITY OFFICE                          ST. LOUIS OFFICE                           KANSAS CITY OFFICE                             SIKESTON OFFICE
           421 E. DUNKLIN STREET                    111 N. 7TH STREET, SUITE 903                       P.O. BOX 1129                          106 ARTHUR STREET, SUITE D
               P.O. BOX 1129                         ST. LOUIS, MO 63101-2100                    JEFFERSON CITY, 65102-1129                    SIKESTON, MO 63801-5454
      JEFFERSON CITY, MO 65102-1129                    PHONE: 314-340-7590                           FAX: 816-889-3582                             FAX: 573-472-5321
            PHONE: 573-751-3325                          FAX: 314-340-7238
             FAX: 573-751-2905



Missouri Commission on Human Rights is an equal opportunity employer/program. Auxiliary aides and services are available upon request to individuals with disabilities.
                                                       TDD/TTY: 1-800-735-2966 (TDD) Relay Missouri: 711
                                                  www.labor.mo.gov/mohumanrights            E-Mail: mchr@labor.mo.gov




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                                                                                                                                                                    Exhibit A
                                                                                 Electronically Filed - Greene - June 30, 2022 - 04:50 PM
            RE:     Justyn I. Merckling vs. MIDWEST TECHNICAL INSTITUTE, Inc.
                                E-08/21-53231 28E-2021-00959


MIDWEST TECHNICAL INSTITUTE, Inc.
3600 S. Glenstone Avenue
SPRINGFIELD, MO 65804
Via Respondent Contact Email

Bruce Thiemann
KAVANAGH, SCULLY, SUDOW, WHITE & FREDERICK, P.C.
301 SW Adams Street Suite 700
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brucethiemann@ksswf.com

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                                                               Exhibit
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                                                      2231-CC00677




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                                                                   Exhibit C
                                                                   Electronically Filed - Greene - June 30, 2022 - 04:50 PM




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                                                      2231-CC00677




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                                                             Exhibit D
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            IN THE 31ST JUDICIAL CIRCUIT, GREENE COUNTY, MISSOURI

 Judge or Division:                                           Case Number: 2231-CC00677
 MARK A POWELL
 Plaintiff/Petitioner:                                        Plaintiff’s/Petitioner’s Attorney/Address
 JUSTYN MERCKLING                                             GREGGORY DEAN GROVES
                                                              901 E. ST. LOUIS ST.
                                                              20TH FLOOR
                                                        vs.   SPRINGFIELD, MO 65806
 Defendant/Respondent:                                        Court Address:
 MIDWEST TECHNICAL INSITUTE INC                               JUDICIAL COURTS FACILITY
 Nature of Suit:                                              1010 N BOONVILLE AVE
 CC Employmnt Discrmntn 213.111                               SPRINGFIELD, MO 65802
                                                                                                                              (Date File Stamp)

                                                        Summons in Civil Case
  The State of Missouri to: MIDWEST TECHNICAL INSITUTE INC
                            Alias:
 PERSON HAVING CHARGE OF THE
 BUSINESS OFFICE AT
 3600 S GLENSTONE OUTER RD
 SPRINGFIELD, MO 65804
       COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                    copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                    plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                    exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                    be taken against you for the relief demanded in the petition.

      GREENE COUNTY                                 07/01/2022                                      /s/ Thomas R. Barr by ar
                                                      Date                                                      Clerk
                                   Further Information:
                                                         Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above Summons by: (check one)
         delivering a copy of the summons and petition to the defendant/respondent.
         leaving a copy of the summons and petition at the dwelling house or usual place of abode of the defendant/respondent with
           _________________________________________________, a person at least 18 years of age residing therein.
         (for service on a corporation) delivering a copy of the summons and petition to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ________________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                           _________________________________________________
                    Printed Name of Sheriff or Server                                                Signature of Sheriff or Server
                                 Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                  My commission expires: __________________                ________________________________________
                                                                     Date                                        Notary Public
   Sheriff’s Fees, if applicable
   Summons                       $
   Non Est                       $
   Sheriff’s Deputy Salary
   Supplemental Surcharge        $   10.00
   Mileage                       $                (______ miles @ $.______ per mile)
   Total                         $
   A copy of the summons and petition must be served on each defendant/respondent. For methods of service on all classes of suits,
   see Supreme Court Rule 54.


SJRC (07-21) SM30 (SMCC) For Court Use Only: Document ID # 22-SMCC-1423 1 of 1 (2231-CC00677)    Civil Procedure Form No. 1, SCR 54.01 – 54.05,
                    Case 6:22-cv-03212-MDH Document 1-1 Filed 08/15/22                              Page 26 of 28
                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            IN THE 31ST JUDICIAL CIRCUIT, GREENE COUNTY, MISSOURI

 Judge or Division:                                           Case Number: 2231-CC00677
 MARK A POWELL
 Plaintiff/Petitioner:                                        Plaintiff’s/Petitioner’s Attorney/Address
 JUSTYN MERCKLING                                             GREGGORY DEAN GROVES
                                                              901 E. ST. LOUIS ST.
                                                              20TH FLOOR
                                                        vs.   SPRINGFIELD, MO 65806
 Defendant/Respondent:                                        Court Address:
 MIDWEST TECHNICAL INSTITUTE INC                              JUDICIAL COURTS FACILITY
 Nature of Suit:                                              1010 N BOONVILLE AVE
 CC Employmnt Discrmntn 213.111                               SPRINGFIELD, MO 65802
                                                                                                                              (Date File Stamp)

                                                        Summons in Civil Case
  The State of Missouri to: MIDWEST TECHNICAL INSTITUTE INC
                            Alias:
 PERSON HAVING CHARGE OF THE
 BUSINESS OFFICE AT
 3600 S GLENSTONE OUTER RD
 SPRINGFIELD, MO 65804
       COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                    copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                    plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                    exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                    be taken against you for the relief demanded in the petition.

      GREENE COUNTY                                 07/05/2022                                      /s/ Thomas R. Barr by ar
                                                      Date                                                      Clerk
                                   Further Information:
                                                         Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above Summons by: (check one)
         delivering a copy of the summons and petition to the defendant/respondent.
         leaving a copy of the summons and petition at the dwelling house or usual place of abode of the defendant/respondent with
           _________________________________________________, a person at least 18 years of age residing therein.
         (for service on a corporation) delivering a copy of the summons and petition to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ________________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                           _________________________________________________
                    Printed Name of Sheriff or Server                                                Signature of Sheriff or Server
                                 Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                  My commission expires: __________________                ________________________________________
                                                                     Date                                        Notary Public
   Sheriff’s Fees, if applicable
   Summons                       $
   Non Est                       $
   Sheriff’s Deputy Salary
   Supplemental Surcharge        $   10.00
   Mileage                       $                (______ miles @ $.______ per mile)
   Total                         $
   A copy of the summons and petition must be served on each defendant/respondent. For methods of service on all classes of suits,
   see Supreme Court Rule 54.


SJRC (07-21) SM30 (SMCC) For Court Use Only: Document ID # 22-SMCC-1460 1 of 1 (2231-CC00677)    Civil Procedure Form No. 1, SCR 54.01 – 54.05,
                    Case 6:22-cv-03212-MDH Document 1-1 Filed 08/15/22                              Page 27 of 28
                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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